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                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF WASHINGTON D.C.


 Stephen Thaler, an individual, 1767 Waterfall Dr.,     Case No. 1:22-cv-01564
 St. Charles, MO 63303,

                    Plaintiff,                          ERRATA

        v.


 Shira Perlmutter, in her official capacity as
 Register of Copyrights and Director of the United
 States Copyright Office; and The United States
 Copyright Office, 101 Independence Ave., S.E.,
 Washington, D.C. 20559-6000,

                    Defendants.




       Plaintiff Stephen Thaler (“Dr. Thaler”) respectfully submits the following errata, along

with his corrected Complaint in this matter. Dr. Thaler inadvertently left out his and Defendants’

addresses in the original complaint. The corrected complaint is submitted as Exhibit A.

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Dated: June 3, 2022                 BROWN, NERI, SMITH & KHAN LLP


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